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                 5                                  UNITED STATES DISTRICT COURT
                 6                                          DISTRICT OF NEVADA
                 7                                                     ***
                 8       UNITED STATES OF AMERICA,                             Case No. 2:12-CR-463 JCM (VCF)
                 9                                             Plaintiff(s),                      ORDER
               10                  v.
               11        FREDERICK VERNON WILLIAMS, et al.,
               12                                            Defendant(s).
               13
               14              Presently before the court is defendant Frederick Williams’s motion for release pending

               15       appeal (ECF No. 889) and the government’s subsequent motion to strike that motion pursuant to
                        what now appears to be Local Rule 11-6(a) (ECF No. 896). The government responded to
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                        defendant’s motion, but defendant did not oppose the government’s motion. (ECF No. 897).
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                               Local Rule IA 11-6(a) states:
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                               A party who has appeared by attorney cannot while so represented appear or act in
               19              the case. This means that once an attorney makes an appearance on behalf of a
                               party, that party may not personally file a document with the court; all filings must
               20              thereafter be made by the attorney.

               21              Plaintiff’s pro se motion was submitted to this court on November 3, 2016. (ECF No. 889).

               22       Yet an assistant federal public defender has appeared on his behalf in this case prior to his filing
                        of the present motion to release. See, e.g., (ECF No. 817). There is no indication that defense
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                        counsel has withdrawn from the case. Therefore, this submission is in violation of Local Rule IA
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                        11-6(a).
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                               Local Rule IA 1-4 allows this court to waive this rule if the interests of justice demand it.
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                        Defendant requests that this court exercise that authority to ignore Local Rule IA 11-6(a) in this
               27       case because the motion for release “argues facts unfamiliar to [defense counsel], and facts which
               28       Mr. Williams previously presented to the court.” (ECF No. 889).

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U.S. District Judge
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                1            However, the government correctly points out that the assistant federal public defender
                2     acted as stand-by counsel during his trial and subsequently appeared on defendant’s behalf. (ECF

                3     Nos. 738, 817, 891, 889). The docket filing defendant offers to show that defense counsel was not

                4     familiar with the facts of the case simply states that counsel did not have the trial transcript, which
                      has since become available. (ECF Nos. 738, 745–750, 752, 753). The transcript is also available
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                      to the other relevant assistant federal public defender, who seems to represent defendant on appeal.
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                      (ECF Nos. 835, 836, 838). Therefore, there is no need to waive Local Rule IA 11-6(a).
                7
                             Accordingly,
                8            IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the government’s
                9     motion to strike (ECF No. 896) defendant’s motion for release pending appeal (ECF No. 889) be,
               10     and the same hereby is, GRANTED.
               11            DATED January 9, 2017.

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               14                                                    UNITED STATES DISTRICT JUDGE

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James C. Mahan
U.S. District Judge                                                    -2-
